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                                         Exhibit A

                             Amended Assumed Contracts Schedule




DOCS_DE:244635.1 23767/001
                                                                                       Case 23-10961-BLS                                     Doc 300-1                              Filed 09/07/23                                Page 2 of 6


                                                                                                                                                                                                                                                                                                  Contract/ PO
              Non-debtor Counterparty                                   Debtor                                                                                         Contract                                                                                                   Description
                                                                                                                                                                                                                                                                                                      Date
ACM Coal Tar Removal                          Williams Specialty Services, LLC              Lump Sum Subcontract 07920021SC04 - Change Order 001                                                                                        Delta Environmental Inc                                       9/9/2021
AIRGAS USA                                    Williams Plant Services, LLC                  PO # 63600155-017                                                                                                                           Gas Cylinders                                                 1/4/2023
Alabma Metal Ind Corp Amico                   Williams Specialty Services, LLC              PO# 07920021-012                                                                                                                            Fence Materials                                              7/15/2022
AMERICAN PORTABLE TOILETS, INC                Williams Specialty Services, LLC              PO# 30230100-052                                                                                                                            Portable Toilets                                             8/12/2021
ARES STEEL                                    Williams Specialty Services, LLC              PO# 30230100-081                                                                                                                            Rebar                                                        3/16/2022
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                  PO# 63600104-091 - CO-8                                                                                                                     Mobile Office Unit                                           9/14/2018
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                  PO# 63600104-088 - CO-8                                                                                                                     Mobile office unit                                           9/14/2018
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                  PO# 63600104-089 - CO-8                                                                                                                     Mobile office unit                                           9/14/2018
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                  PO# 63600104-090 - CO-8                                                                                                                     Mobile office unit                                           9/14/2018
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                  PO# 63600104-091 - CO-8                                                                                                                     Mobile office unit                                           9/14/2018
ARIES BUILDING SYSTEMS                        Williams Plant Services, LLC                  PO # 63600155-013                                                                                                                           Office Trailers                                               1/3/2023
Ashmore Concrete Contractors                  Williams Specialty Services, LLC              Time and Material Subcontract 63600103SC02                                                                                                  Concrete Pumping Services                                    5/31/2018
ASHMORE CONCRETE CONTRACTORS                  Williams Plant Services, LLC                  Time and Materials Agreement 63600104SC02                                                                                                   Concrete Pumping                                             5/29/2018
AT&T                                          Williams Plant Services, LLC                  PO # 63600155-026                                                                                                                           Internet (DSL) Equipment (Blanket PO)                        1/10/2023
AUGUSTA INDUSTRIAL SERVICES                   Williams Plant Services, LLC                  Time and Materials Agreement 63600104SC06 CO -1                                                                                             Inspection Tech & Operators                                   4/6/2022
AUGUSTA INDUSTRIAL SERVICES                   Williams Plant Services, LLC                  Time and Material Subcontract 63600159SC01                                                                                                  Excavations                                                 12/21/2022
AUGUSTA INDUSTRIAL SERVICES                   Williams Plant Services, LLC                  Time and Material Agreement 63600165SC01                                                                                                    Hydro Ex                                                     5/10/2023
BAD DAY FABRICATION                           Williams Plant Services, LLC                  PO # 63600162-001                                                                                                                           Various fabrication materials                                3/13/2023
Badger Daylighting Corp.                      Williams Specialty Services, LLC              Time and Material Subcontract 30230100TO01 - CO 002                                                                                         Hydro Excavating                                             4/26/2021
Barracuda                                     Williams Industrial Services Group, L.L.C.    INV #20902                                                                                                                                  Email Archiver                                                7/9/2020
BC INDUSTRIAL SUPPLY INC                      Williams Specialty Services, LLC              PO# 30230100-080                                                                                                                            Wet/ Dry Ashpalt Blade                                        3/3/2022
Blood Hound LLC                               Williams Specialty Services, LLC              Time and Material Subcontract 30230100SC02                                                                                                  Underground Utility Services                                  6/2/2021
Case Contracting LTD                          Williams Specialty Services, LLC              Task Order Agreement No. 07921200TO02 - CO 001                                                                                              Electrical Services                                         12/10/2020
CEMEX                                         Williams Specialty Services, LLC              PO# 30230100-032 - CO-2                                                                                                                     Concrete & Gravel                                             6/9/2021
Cisco                                         Williams Industrial Services Group, L.L.C.    INV# 356619ATL                                                                                                                              Microsoft 365 Licenses                                       2/25/2022
Cisco                                         Williams Industrial Services Group, L.L.C.    PO# 40000-055                                                                                                                               Smartnet                                                     12/2/2022
CIT Technology Fin Svcs                       Williams Industrial Services Group, L.L.C.    CIT Contract #900-0323839-000                                                                                                               Printer Leases                                               8/15/2019
Citrix                                        Williams Industrial Services Group, L.L.C.    PO# 99109-283                                                                                                                               Citrix Gateway                                               6/21/2022
Cogent                                        Williams Industrial Services Group, L.L.C.    Cogent Customer Order                                                                                                                       HQ Main Internet                                             12/9/2021
Cold Springs Machine Co Inc                   Williams Specialty Services, LLC              PO# 07920021-005                                                                                                                            Materials and Fabrication                                   10/12/2021
Comcast                                       Williams Industrial Services Group, L.L.C.    COMCAST BUSINESS SERVICE ORDER                                                                                                              HQ Backup Internet                                           2/11/2022
Complete Mobile Home Setup, LLC               Williams Plant Services, LLC                  Time and Materials Agreement 63600105TO01 CO-008                                                                                            Mobile Offices Setup                                         6/11/2018
Complete Mobile Home Setup, LLC               Williams Plant Services, LLC                  Time and Materials Agreement 63600111TO01 CO -3                                                                                             Set up/ Knockdown Services                                   5/23/2019
Con Edison                                    Williams Specialty Services, LLC              PO #5634925 - CO - 003                                                                                                                      Bronx River 36" Gas Main                                     6/28/2021
Con Edison                                    Williams Specialty Services, LLC              PO #5426662 - CO -7                                                                                                                         Hudson Elevator                                               2/6/2020
Con Edison                                    Williams Specialty Services, LLC              BPA 5921728                                                                                                                                 Con Ed Maintenance                                           5/19/2023
Concur                                        Williams Industrial Services Group Inc.       Concur Technologies Business Services Agreement                                                                                             Expense management                                           1/31/2013
CONSTRUCTION RESOURCES GROUP                  Williams Specialty Services, LLC              PO# 30230100-059 - CO-1                                                                                                                     Fence Fabrication                                             9/1/2021
Cranston Engineering Group, PC                Williams Specialty Services, LLC              Time and Material Subcontract 63600103TO02                                                                                                  Engineering Support                                          7/24/2019
CRANSTON ENGINEERING GROUP, PC                Williams Plant Services, LLC                  Task Order Agreement No. 63600104TO02                                                                                                       Engineering Support                                          7/24/2019
D R DAVIES CONTRACTOR LLC                     Williams Plant Services, LLC                  Time and Materials Agreement 63600104SC08                                                                                                   Railroad Tracks                                              3/16/2023
D R DAVIES CONTRACTOR LLC                     Williams Plant Services, LLC                  Time and Materials Agreement 63600104SC09                                                                                                   Track Construction                                           3/16/2023
Dell Computer                                 Williams Specialty Services, LLC              PO# 07920021-006                                                                                                                            Computer Equipment                                           11/7/2021
DELL COMPUTER                                 Williams Plant Services, LLC                  PO# 36300146-016 - CO-1                                                                                                                     Computer equipment                                            9/1/2022
DELL COMPUTER                                 Williams Plant Services, LLC                  PO # 62700002-009                                                                                                                           Computer equipment                                           9/26/2022
DIGITAL OFFICE EQUIPMEMNT                     Williams Plant Services, LLC                  PO # 63600155-020                                                                                                                           Copier Maintenance                                            1/4/2023
DUO                                           Williams Industrial Services Group, L.L.C.    PO# 88109-287                                                                                                                               MFA                                                           9/1/2022
EAST COAST LUMBER & SUPPLY CO                 Williams Specialty Services, LLC              PO# 30230100-074                                                                                                                            Hardware Materials                                           12/2/2021
EAST COAST LUMBER & SUPPLY CO                 Williams Specialty Services, LLC              PO# 30230100-119                                                                                                                            Water                                                        4/20/2023
EAST COAST LUMBER & SUPPLY CO                 Williams Specialty Services, LLC              PO# 30230100-121                                                                                                                            Cold Galvanize Spray                                         6/29/2023
Edge                                          Williams Industrial Services Group, L.L.C.    Edge Maintenance Agreement                                                                                                                  Printer Maintenance                                           4/8/2019
Energy Northwest                              Williams Plant Services, LLC                  Agreement for Consulting and Technical Services (337687) - Rev 4                                                                            ENW Background Screening                                     3/25/2013
Energy Northwest                              Williams Plant Services, LLC                  Basic Ordering Agreement No. 351956                                                                                                         Maintenance Support/ Outage                                   9/7/2022
Energy Northwest                              Williams Plant Services, LLC                  Small Works Contract No. 361614                                                                                                             Breaker Replacement                                          1/11/2023
ENSCO SUPPLY                                  Williams Plant Services, LLC                  PO# 36300146-091                                                                                                                            Chainsaw                                                     7/24/2023
ENSCO SUPPLY                                  Williams Plant Services, LLC                  PO # 63600167-008                                                                                                                           Materials                                                    7/14/2023
ENSCO SUPPLY                                  Williams Plant Services, LLC                  PO # 62700002-013                                                                                                                           Safety PPE and other items                                   1/19/2023
ENSCO SUPPLY                                  Williams Plant Services, LLC                  PO # 62700002-014                                                                                                                           Hardhats                                                     2/10/2023
FACTORY DIRECT SUPPLY                         Williams Specialty Services, LLC              PO# 30230100-117                                                                                                                            Besser Bricks                                                3/17/2023
FASTENAL COMPANY                              Williams Plant Services, LLC                  PO# 36300146-006                                                                                                                            Steel Pipe                                                   8/11/2022
Flexential                                    Williams Industrial Services Group, L.L.C.    Flexential Managed Services Agreement                                                                                                       Data Center                                                   4/4/2017
Fusion Tech Communications LLC                Williams Specialty Services, LLC              Lump Sum Subcontract 07921200SC03 - CO 001                                                                                                  Lighting Fixtures                                            11/1/2022
Georgia Pacific                               Williams Industrial Services LLC              Georgia Pacific Purchase Order: P3962300787                                                                                                 Weekend Outage                                               5/15/2023
Georgia Pacific                               Williams Industrial Services LLC              Georgia Pacific Purchase Order: P3962301170                                                                                                 Weekend Outage                                               7/26/2023
GOLDEN ISLES SUPPLY CO., INC.                 Williams Plant Services, LLC                  PO# 36300146-090                                                                                                                            Materials (wire)                                             7/14/2023
Granite                                       Williams Industrial Services Group, L.L.C.    Commercial Account Form and Letter of Agency – Mobility Services                                                                            Mobile phone management                                       6/4/2020
GRANITE TELECOMMUNICATIONS LLC                Williams Plant Services, LLC                  PO # 62700002-008                                                                                                                           Mobile communications                                        9/16/2022
GUBMK (United E&C)GUBMK (Worley Group, Inc)   Williams Plant Services, LLC                  Joint Venture Agreement Between and Among Worley Group, Inc, Williams Plant Services, LLC and United Engineers & Constructors, Inc.         GUBMK JV Agreement                                          11/20/1991
HARPER LINE STRIPING CO                       Williams Plant Services, LLC                  Lump Sum Subcontract 63600167SC01 - CO-001                                                                                                  Line Striping                                                 6/8/2023
HDS WHITE CAP CONST SUPPLY                    Williams Plant Services, LLC                  PO# 36300146-046                                                                                                                            Marking Paint - Mag Nails - Flagging                         1/13/2023
HDS WHITE CAP CONST SUPPLY                    Williams Plant Services, LLC                  PO# 36300146-072                                                                                                                            Materials                                                     4/4/2023
HERC RENTALS                                  Williams Specialty Services, LLC              PO# 30230100-019 - CO-8                                                                                                                     Equipment Rental                                             4/20/2021
HERC RENTALS                                  Williams Specialty Services, LLC              PO# 30230100-027                                                                                                                            Equipment Rental                                              6/2/2021
HERC RENTALS                                  Williams Specialty Services, LLC              PO# 30230100-096                                                                                                                            Fork Lift Rental                                             8/17/2022
HERC RENTALS                                  Williams Plant Services, LLC                  PO# 63600105-001 - CO-6                                                                                                                     3/4 Ton Crew 4WD Pickup Truck Rental                          5/9/2018
HERC RENTALS                                  Williams Plant Services, LLC                  PO# 63600105-009 - CO-3                                                                                                                     1/2 Ton Crew Pickup Truck Rental and tool box accessory      5/24/2018
HERC RENTALS                                  Williams Plant Services, LLC                  PO # 63600147-003                                                                                                                           Equipment Rental                                              9/6/2022
HERC RENTALS                                  Williams Plant Services, LLC                  PO# 63600147-004 - CO-1                                                                                                                     Equipment Rental                                              9/8/2022
HERC RENTALS                                  Williams Plant Services, LLC                  PO # 63600155-006                                                                                                                           Equipment Rental                                            12/21/2022
HERC RENTALS                                  Williams Plant Services, LLC                  PO # 63600155-007                                                                                                                           Equipment Rental                                            12/21/2022
HERC RENTALS                                  Williams Plant Services, LLC                  PO# 63600155-029 - CO-1                                                                                                                     Equipment Rental                                             2/14/2023
HERC RENTALS                                  Williams Plant Services, LLC                  PO# 63600155-032 - CO-1                                                                                                                     Equipment Rental                                              3/6/2023
HERC RENTALS                                  Williams Plant Services, LLC                  PO# 63600155-036 - CO-2                                                                                                                     Equipment Rental                                             5/15/2023
HERC RENTALS                                  Williams Plant Services, LLC                  PO # 63600170-01                                                                                                                            Equipment Rental                                             7/26/2023
Holtec International                          Williams Plant Services, LLC                  Holtec International General T&C (GTC-Services)                                                                                             General Terms & Conditions                                   1/24/2019
Holtec International                          Williams Plant Services, LLC                  Holtec International Purchase Order: 133675                                                                                                 Pool to Pad Labor (Sequoyah)                                 5/15/2023
Holtec International                          Williams Plant Services, LLC                  Holtec International Purchase Order: 134003                                                                                                 Craft Labor Support (Dresden)                                 5/2/2023
Holtec International                          Williams Plant Services, LLC                  Holtec International Purchase Order: 133976                                                                                                 Craft Labor Support                                           5/8/2023
HSE Contractors Inc                           Williams Specialty Services, LLC              Task Order Agreement No. 07921200TO01                                                                                                       Scheduling Services                                          7/21/2020
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                                                                                                                                                                                                                                                                            Contract/ PO
                Non-debtor Counterparty                                Debtor                                                                                     Contract                                                                   Description
                                                                                                                                                                                                                                                                                Date
Hudson Elevator Group                          Williams Specialty Services, LLC                Lump Sum Subcontract 07921200SC01 - CO 001                                                           Elevator Install                                                            2/6/2019
Ikegami Engineering, Inc.                      Williams Plant Services, LLC                    Time and Materials Contract                                                                          Ultium Cells Plants (OH, TN)                                               6/30/2022
Iland (11:11)                                  Williams Industrial Services Group, L.L.C.      iland GLOBAL MASTER SERVICE AGREEMENT                                                                DRAAS                                                                      3/20/2020
IMPACT RENTALS, LLC                            Williams Plant Services, LLC                    PO # 63600147-002                                                                                    Equipment Rental                                                           8/19/2022
IMPACT RENTALS, LLC                            Williams Plant Services, LLC                    PO# 63600155-033 - CO-1                                                                              Equipment Rental                                                           3/23/2023
Insight                                        Williams Industrial Services Group Inc.         Microsoft Products and Services Agreement                                                            MS Server licenses                                                         2/25/2022
JM TEST SYSTEMS INC                            Williams Plant Services, LLC                    PO# 63600155-014 - CO-1                                                                              Cable Analyzers                                                             1/4/2023
KELLY TRACTOR CO                               Williams Specialty Services, LLC                PO# 30230100-069 - CO-2                                                                              Equipment Rental                                                           11/2/2021
KnowBe4                                        Williams Industrial Services Group, L.L.C.      PO# 88109-272                                                                                        KnowBe4                                                                   10/15/2022
Lan Darty Real Estate dba D. Ream Properties   Williams Plant Services, LLC                    Lease Agreement                                                                                      Background Group Oﬃce (2543 Ross Clark CircleSuite 2Dothan, AL 36301)      11/2/2021
LeaseQuery                                     Williams Industrial Services Group Inc.         SalesOrder 2938                                                                                      Lease tracking                                                             2/28/2019
Loadspring                                     Williams Industrial Services Group, L.L.C.      Loadspring master Service Agreement                                                                  Application Hosting                                                        9/26/2018
LOWES CREDIT SERVICES                          Williams Specialty Services, LLC                PO# 30230100-036                                                                                     Blanket PO for small tools                                                 6/14/2021
LOWES CREDIT SERVICES                          Williams Specialty Services, LLC                PO# 30230100-110                                                                                     Small Tools                                                                2/20/2023
LOWES CREDIT SERVICES                          Williams Specialty Services, LLC                PO# 30230100-111                                                                                     Consumables                                                                2/20/2023
LOWES CREDIT SERVICES                          Williams Plant Services, LLC                    PO# 63600105-017 - CO-2                                                                              Blank PO for small tools/ consumables                                      6/20/2018
LOWES CREDIT SERVICES                          Williams Plant Services, LLC                    PO# 36300146-048                                                                                     Materials                                                                  1/30/2023
LOWES CREDIT SERVICES                          Williams Plant Services, LLC                    PO # 63600167-009                                                                                    Blanket Materials PO                                                       7/18/2023
LOWES CREDIT SERVICES                          Williams Plant Services, LLC                    PO# 62700002-003 - CO-1                                                                              Materials                                                                  7/13/2022
M&W Precast LLC                                Williams Specialty Services, LLC                PO# 07920021-010                                                                                     Materials and Fabrication                                                  6/17/2022
MACUCH STEEL PRODUCTS, INC.                    Williams Plant Services, LLC                    PO # 63600167-011                                                                                    Steel materials                                                            7/19/2023
MAGID GLOVE & SAFETY MFG CO                    Williams Plant Services, LLC                    PO# 36300146-071                                                                                     Tools/ Materials                                                            4/3/2023
MalwareBytes                                   Williams Industrial Services Group, L.L.C.      Malware Bytes Sales Order                                                                            Antivirus anti-malware                                                      1/8/2021
MANER BUILDERS SUPPLY CO LLC                   Williams Plant Services, LLC                    PO# 63600105-006 - CO-8                                                                              Materials                                                                  5/21/2018
MANER BUILDERS SUPPLY CO LLC                   Williams Plant Services, LLC                    PO # 63600167-010                                                                                    Materials                                                                  7/19/2023
MARTIN MARIETTA MATERIALS                      Williams Plant Services, LLC                    PO# 36300146-009 - CO-4                                                                              Blanket PO for stone                                                       8/12/2022
MAXIM CRANE WORKS, LP                          Williams Specialty Services, LLC                PO# 30230100-112 - CO-1                                                                              50 Ton Crane                                                               2/20/2023
MAXIM CRANE WORKS, LP                          Williams Plant Services, LLC                    PO # 63600155-012                                                                                    Crane Rental                                                                1/3/2023
MAXIM CRANE WORKS, LP                          Williams Plant Services, LLC                    PO # 63600155-018                                                                                    Crane Rental                                                                1/4/2023
MCKINNEY WHOLESALE CO INC                      Williams Plant Services, LLC                    PO # 63600167-012                                                                                    Treated Lumber                                                             7/21/2023
Microsoft                                      Williams Industrial Services Group, L.L.C.      INV# 19609                                                                                           Office 365                                                              Monthly
Miller Electric Company                        Williams Specialty Services, LLC                Time and Material Subcontract 30230100SC04 - CO 001                                                  Temp Power                                                                  2/8/2022
Miller Electrical Contractors                  Williams Specialty Services, LLC                Time and Material Subcontract 30230100SC01 - CO 001                                                  Electrical Services                                                        4/14/2021
MOBILE MINI INC                                Williams Specialty Services, LLC                PO# 30230100-013 - CO-2                                                                              Container Rental                                                           4/13/2021
MOBILE MINI INC                                Williams Plant Services, LLC                    PO# 63600155-011 - CO-1                                                                              Temporary Building Rental                                                   1/5/2023
NATIONAL CONSTRUCTION RENTALS                  Williams Plant Services, LLC                    PO # 63600155-034                                                                                    Temporary Fence                                                            4/11/2023
NPE Consultants, LLC                           Williams Specialty Services, LLC                Task Order Agreement No. 07920024TO01                                                                Engineering Services                                                       10/6/2022
Oleary Construction Inc                        Williams Specialty Services, LLC                Lump Sum Subcontract 07920021SC05                                                                    Construction Services                                                     10/13/2021
P&I SUPPLY CO                                  Williams Plant Services, LLC                    PO# 63600105-020                                                                                     Consumables                                                                7/24/2018
Pantheon                                       Williams Industrial Services Group, L.L.C.      Pantheon Order Form                                                                                  Website hosting                                                             2/7/2022
ParkPlace Technology                           Williams Industrial Services Group Inc.         Park Place SCHEDULE : 626982-1                                                                       hardware maintenance                                                       12/1/2020
Peepels Mechanical Corporation                 Williams Specialty Services, LLC                Lump Sum Subcontract 07920021SC08                                                                    HVAC work                                                                  6/17/2022
Penta                                          Williams Industrial Services Group, L.L.C.      Master Penta Agreement                                                                               ERP                                                                        3/29/2005
Pixelle Specialty Solutions                    Williams Industrial Services LLC                Purchase Order # 4500020149                                                                          12PM Straw Shed Siding                                                      4/4/2023
Pixelle Specialty Solutions                    Williams Industrial Services LLC                Purchase Order # 4500022427                                                                          12PM Gutter Clean                                                           5/3/2023
Pixelle Specialty Solutions                    Williams Industrial Services LLC                Purchase Order # 4500026062                                                                          Bldg 66 Roof Repairs                                                        7/6/2023
Pixelle Specialty Solutions                    Williams Industrial Services LLC                Purchase Order # 4500026303                                                                          RPR Roof Decking Repair Door                                               7/11/2023
PLANT MACHINE & WELDING INC.                   Williams Specialty Services, LLC                PO# 30230100-124                                                                                     Galvanized Plates                                                           7/3/2023
POLLOCK COMPANY                                Williams Plant Services, LLC                    PO # 63600155-019                                                                                    Copier Maintenance                                                          1/4/2023
RED-D-ARC INC                                  Williams Plant Services, LLC                    PO # 63600155-016                                                                                    Cylinder Cages                                                              1/4/2023
RedHat                                         Williams Industrial Services Group, L.L.C.      PO#88109-281                                                                                         Linux                                                                       2/4/2022
Requordit                                      Williams Industrial Services Group, L.L.C.      Requordit SCOPE OF WORK NO. SO-9437                                                                  Penta Document Management                                                 10/25/2022
SalesForce                                     Williams Industrial Services Group Inc.         SalesOrder 26242766                                                                                  CRM                                                                        6/15/2023
SALTER BUILDING SUPPLY INC.                    Williams Plant Services, LLC                    PO# 63600105-023                                                                                     Blanket PO for materials                                                   9/18/2018
SALTER BUILDING SUPPLY INC.                    Williams Plant Services, LLC                    PO# 63600105-024 - CO-1                                                                              Blanket PO for materials                                                   9/18/2018
SolCyber                                       Williams Industrial Services Group, L.L.C.      SolCyber Order Form - Managed Security Services                                                      Managed Security Service                                                  10/28/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 56524 for Alvin W. Vogtle 3&4 - Amm 1                                      Facilities                                                                 3/23/2018
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 56524-0002 - Rev8                                                                                Facilities                                                                 5/16/2018
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 56524-0003                                                                                       Facilities - Trailer City Demob                                             4/1/2019
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 57456 for Alvin W. Vogtle 3&4 - Amm 14                                     Permanent Plant Security System                                            4/12/2018
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 57456-0002/6 L1 L3 - Rev 14                                                                      Security Perimeter                                                         5/29/2018
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 69774 for Alvin W. Vogtle 3&4 - Rev 1                                      ADT Support                                                                 3/2/2021
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 69774-0004 - Rev 3                                                                               ADT Support                                                                 4/1/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 76012 for Alvin W. Vogtle 3&4 - Amm 1                                      North 40 - Base Scope (Directs + Material)                                  8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 76012-0001 - Rev 6                                                                               North 40 - Base Scope (Directs + Material)                                  8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 76012-0002 - Rev 8                                                                               North 40 - Hotel Load (Staff + Hotel + Indirects)                           8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 76012-0003 - Rev 7 5                                                                             North 40 - Craft Incentives                                                 8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 76012-0006                                                                                       North 40 - Misc Site Support                                              12/13/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 76012-0008 - Rev 5                                                                               Vogtle 3 & 4 Hotel Load (Staff and Equipment)                              1/17/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 85869 for Alvin W. Vogtle 3&4                                              ITP/FIN team - Seconded to Southern                                         3/9/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 85869-0001                                                                                       ITP/FIN team - Seconded to Southern                                         3/9/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 76012 for Alvin W. Vogtle 3&4                                              North Road Project                                                          8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 76012 for Alvin W. Vogtle 3&4                                              North Road Project - Amendment No. 1                                        8/8/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 76012-0009 - Rev 4                                                                               Hydro Excavation Activities                                                5/17/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 86588 for Alvin W. Vogtle 3&4                                              Parking Lot Project                                                        5/16/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 86588-0001 - Rev 2                                                                               South 40 - Road/ASB Parking Lot                                            5/22/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 86588-0002 - Rev 1                                                                               South 40 - Indirect Craft                                                  5/19/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 86588-0003 - Rev 1                                                                               South 40 - Incentives                                                      5/19/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 86588-0004 - Rev 1                                                                               South 40 - Equipment                                                       5/21/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# 86588-0005                                                                                       South 40 Batch Plant Support                                               6/23/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 73391 for Hatch                                                            Hatch Unit 2 Feedwater Heater                                               3/9/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO# SNC73391-0002                                                                                    Hatch Unit 2 Feedwater Heater                                              3/16/2022
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 68318 for Joseph M. Farley - Amm 2                                         Class B Smoke Detector Replacement Projects                                 9/8/2020
Southern Nuclear Operating Company             NA                                              PO# SNA68318-0004                                                                                    Fire Detection                                                              1/3/2023
Southern Nuclear Operating Company             Williams Plant Services, LLC                    SNC Purchase Contract No. 71225 for Alvin W. Vogtle 1-4                                              Background Screenings                                                      7/26/2021
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO #SNC71225-0002                                                                                    Farley, Hatch, Vogtle 1&2 Background Screenings                            8/26/2021
Southern Nuclear Operating Company             Williams Plant Services, LLC                    PO #SNC71225-0003                                                                                    Vogtle 3&4 Background Screenings                                          12/31/2021
Southern Nuclear Operating Company, Inc        Construction & Maintenance Professionals, LLC   Master Agreement (MA) 19276 - Leased Worker Services                                                 Leased Employees                                                          12/22/2017
Southern Nuclear Operating Company, Inc        Construction & Maintenance Professionals, LLC   MA 19276 Amendment 1                                                                                 Leased Employees                                                           5/23/2018
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               Non-debtor Counterparty                            Debtor                                                                                             Contract                                                                 Description
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Southern Nuclear Operating Company, Inc   Construction & Maintenance Professionals, LLC   MA 19276 Amendment 1.1                                                                                       Leased Employees                                                    7/1/2021
Southern Nuclear Operating Company, Inc   Construction & Maintenance Professionals, LLC   MA 19276 Amendment 2                                                                                         Leased Employees                                                    7/1/2021
Southern Nuclear Operating Company, Inc   Construction & Maintenance Professionals, LLC   SNC37904-0004                                                                                                Leased Worker Services - Labor                                      4/1/2022
Southern Nuclear Operating Company, Inc   Construction & Maintenance Professionals, LLC   SNC37904-0005                                                                                                Leased Worker Services - Expenses                                   4/1/2022
SOUTHERNLINC WIRELESS                     Williams Plant Services, LLC                    PO# 63600105-018 - CO-1                                                                                      Blanket PO for Push to Talk                                         7/9/2018
SOUTHERNLINC WIRELESS                     Williams Plant Services, LLC                    PO# 63600105-030 - CO-1                                                                                      Blanket PO for Push to Talk                                        1/23/2019
SOUTHERNLINC WIRELESS                     Williams Plant Services, LLC                    PO # 63600155-015                                                                                            Push to Talk - mobile communications                                1/4/2023
Southway Crane & Rigging                  Williams Specialty Services, LLC                Time and Material Subcontract 63600103SC03                                                                   Crane Services                                                     9/11/2018
STAPLES INC.                              Williams Plant Services, LLC                    PO # 62700002-002                                                                                            Office Supplies                                                    6/28/2022
SUNBELT RENTALS                           Williams Plant Services, LLC                    PO # 63600155-008                                                                                            Equipment Rental                                                  12/21/2022
SUNBELT RENTALS                           Williams Plant Services, LLC                    PO# 63600155-009 - CO-1                                                                                      Equipment Rental                                                  12/21/2022
Tech Valley Engineering, PLC              Williams Specialty Services, LLC                Task Order Agreement No. 07920021TO02- CO-006                                                                Engineering Services                                               8/31/2021
Tennessee Valley Authority                Williams Plant Services, LLC                    10728 TVA MSA - Amm 6                                                                                        MSA                                                                10/6/2015
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7167318                                                                                                  PO# BFN U3 LP FW HTR Project                                      12/28/2021
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7218944                                                                                                  PO# BFN Control Room Planning Support                              3/29/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7332514                                                                                                  PO# BFN Phase 3 Planning Support                                   8/31/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7339675                                                                                                  PO# BFN Phase 3 Headend Replacement                                 9/9/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7501330                                                                                                  PO# BFN Control Room Habitability Support                           7/7/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7014064                                                                                                  PO# SQN U2 Traveling Water Screen Phase 1 Planning                 9/13/2021
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7015598                                                                                                  PO# SQN U1 Traveling Water Screen Phase 1 Planning                 9/14/2021
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7171685                                                                                                  PO# SQN U2 FWH Admin Support                                        1/5/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7218966                                                                                                  PO# SQN Planning Support for Control Room Upgrade                  3/29/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7252987                                                                                                  PO# SQN FTS Repair Work                                            5/17/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7248678                                                                                                  PO# SQN FTS Planning Support                                       5/11/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7325810                                                                                                  PO# SQN Phase 2 Planning                                           8/23/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7325020                                                                                                  PO# SQN U2 Turbine Crane Walkdown                                  8/22/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7349452                                                                                                  PO# SQN PIRT Scaffold Support U2R25 and U1R26                      9/29/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7362942                                                                                                  PO# SQN Fleet Center Procedure Update Support                     10/12/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7376520                                                                                                  PO# SQN FY23 Safety Fundamental Awards                            10/30/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7429202                                                                                                  PO# SQN Rescue Boat for TWS Tree Cutting                            2/9/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7436863                                                                                                  PO# SQN Planning and Field Support                                 2/27/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7432251                                                                                                  PO# SQN Planning Support for SCBA                                  2/16/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7433002                                                                                                  PO# SQN Lighting Implementation                                    2/17/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7447933                                                                                                  PO# SQN RCI Laborer Support                                        3/30/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7450607                                                                                                  PO# SQN Planning Support - High Risk                               3/28/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7450611                                                                                                  PO# SQN Planning Support - Medium Risk                             3/28/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7452149                                                                                                  PO# SQN Additional Funding Excitation Support                      3/31/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7455774                                                                                                  PO# SQN Boot Seal Replacement for U1 U1R26 Outage                   4/7/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7455787                                                                                                  PO# SQN QI and Welding Rod Issuance Personnel                       4/7/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7473318                                                                                                  PO# SQN Build Scaffold for Buss Cleaning                           5/16/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7476624                                                                                                  PO# SQN U2 Wattle Installation Part 2                              5/24/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7477251                                                                                                  PO# SQN U1 Boot Seal Repl/Install for Small Bore Piping            5/25/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7477257                                                                                                  PO# SQN U2 Boot Seal Repl/Install for Small Bore Piping            5/25/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7481684                                                                                                  PO# SQN Level Transmitter Abandonment                               6/6/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7487617                                                                                                  PO# SQN QA0 Scaffold Support                                       6/21/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7496046                                                                                                  PO# SQN Planning/Implementation 1st 10 ASCO Valve Replacement      7/13/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7496410                                                                                                  PO# SQN Augmented Fire Watch Support                               7/14/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7420986                                                                                                  PO# WBN Engineering Support                                        1/23/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7451728                                                                                                  PO# WBN Turbine Building Crane Phase 2 Planning Support            3/30/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7455343                                                                                                  PO# WBN Fleet Planning Support                                      4/6/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7344866                                                                                                  PO# BLN Maintenance Services Contract for FY23                     9/16/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7175698                                                                                                  PO# TVA/SQN/IT INFRASTRUCTURE 1/TP                                 3/25/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7378747                                                                                                  PO# TVA/SQN/IT INFRASTRUCTURE 2/TP                                 11/2/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7378753                                                                                                  PO# TVA/SQN/IT INFRASTRUCTURE 3/TP                                 11/2/2022
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7356217                                                                                                  PO# Chickamauga Waterline Upgrade                                   5/2/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7422616                                                                                                  PO# WBN Training Center Roofing Project Truck Path                 1/25/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7422656                                                                                                  PO# SQN Smart Meter Installation                                   1/25/2023
Tennessee Valley Authority                Williams Plant Services, LLC                    PO# 7445309                                                                                                  PO# SQN Planning IT Cable - Phases 2 3 4                           3/16/2023
Thompson Industrial Service               Williams Specialty Services, LLC                Time and Material Subcontract 63600103SC05                                                                   Excavation Services                                                2/18/2019
THOMPSON INDUSTRIAL SERVICE               Williams Plant Services, LLC                    Time and Materials Agreement 63600104SC04                                                                    Excavation Services                                                2/18/2019
Thomson Rueters                           Williams Industrial Services Group Inc.         End-User License Agreement for Taxstream Provision and Planning Software                                     Tax software                                                      10/20/2008
Toolwatch                                 Williams Industrial Services Group, L.L.C.      Managed Subscription Agreement ToolWatch Enterprise                                                          Equipment management                                               4/19/2018
TRI-STATE DISTRIBUTORS                    Williams Plant Services, LLC                    PO# 63600105-046 - CO-1                                                                                      Blanket PO - Materials                                            10/24/2019
UKG                                       Williams Industrial Services Group, L.L.C.      The Ultimate Software Group, Inc. SaaS Agreement                                                             HRIS                                                               3/10/2021
UNITED RENTALS-PAYMENT CENTER             Williams Specialty Services, LLC                PO# 30230100-003 - CO-01                                                                                     Equipment Rental                                                   3/26/2021
UNITED RENTALS-PAYMENT CENTER             Williams Specialty Services, LLC                PO# 30230100-007                                                                                             Equipment Rental                                                   3/31/2021
UNITED RENTALS-PAYMENT CENTER             Williams Specialty Services, LLC                PO# 30230100-018                                                                                             Equipment Rental                                                   4/20/2021
UNITED RENTALS-PAYMENT CENTER             Williams Specialty Services, LLC                PO# 30230100-086 - CO-1                                                                                      Equipment Rental                                                    5/4/2022
UNITED RENTALS-PAYMENT CENTER             Williams Specialty Services, LLC                PO# 30230100-115 - CO-1                                                                                      Equipment Rental                                                    3/6/2023
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO# 63600105-027 - CO-1                                                                                      Rental Equipment                                                  12/11/2018
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO# 63600105-028 - CO-7                                                                                      Rental Equipment                                                  12/18/2018
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO# 63600105-037 - CO-2                                                                                      Rental Equipment (3/4 Ton Crew Cab)                                 6/3/2019
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO# 63600105-042 - CO-4                                                                                      Rental Equipment (1/2 Ton Crew Cab)                                7/30/2019
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO# 63600105-047                                                                                             Rental Equipment - Glass Repair                                    1/27/2020
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO# 63600147-001 - CO-2                                                                                      Equipment Rental                                                   8/11/2022
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO # 63600147-005                                                                                            Equipment Rental                                                    9/8/2022
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO # 63600147-006                                                                                            Equipment Rental                                                   9/14/2022
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO # 63600147-007                                                                                            Equipment Rental                                                   9/15/2022
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO # 63600147-008                                                                                            Equipment Rental                                                  11/14/2022
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO # 63600155-010                                                                                            Equipment Rental                                                  12/22/2022
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO # 63600155-022                                                                                            Equipment Rental                                                    1/5/2023
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO# 63600155-023 - CO-2                                                                                      Equipment Rental                                                    1/8/2023
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO # 63600155-024                                                                                            Equipment Rental                                                    1/6/2023
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO# 63600155-025 - CO-3                                                                                      Equipment Rental                                                    1/6/2023
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO# 63600155-028 - CO-1                                                                                      Equipment Rental                                                   2/14/2023
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO # 63600155-030                                                                                            Equipment Rental                                                   2/22/2023
UNITED RENTALS-PAYMENT CENTER             Williams Plant Services, LLC                    PO # 63600155-037                                                                                            Equipment Rental                                                    7/6/2023
VEEAM                                     Williams Industrial Services Group, L.L.C.      INV# 354048                                                                                                  VEEAM                                                              12/1/2022
Verde Electric Corporation                Williams Specialty Services, LLC                Time and Material Subcontract 07920021SC01 - CO-001                                                          Electrical Services                                                7/12/2021
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                                                                                                                                                                                                                                                      Contract/ PO
             Non-debtor Counterparty                             Debtor                                                                                   Contract                                                               Description
                                                                                                                                                                                                                                                          Date
VMWare                                 Williams Industrial Services Group, L.L.C.    PO# 88109-264                                                                                           VMWare                                                       8/6/2022
Waste Connections of NY, INC           Williams Specialty Services, LLC              PO# 07920021-004                                                                                        Trash Pickup                                                8/27/2021
WASTE PRO OF FLORIDA, INC              Williams Specialty Services, LLC              PO# 30230100-057                                                                                        Dumpster                                                    8/27/2021
Welding Works, Inc.                    Williams Specialty Services, LLC              PO# 07920021-001 - CO-1                                                                                 Materials and Fabrication                                   6/30/2021
WELLS FARGO VENDOR FINANCIAL           Williams Plant Services, LLC                  PO # 63600155-021                                                                                       Copier Lease                                                 1/4/2023
WestRock CP, LLC                       Williams Industrial Services Group Inc.       ROCKTENN Master Equipment/Parts/Service Agreement                                                       MSA                                                         8/10/2015
WestRock CP, LLC                       Williams Industrial Services Group Inc.       First Amendment to ROCKTENN Master Equipment/Parts/Service Agreement                                    MSA Amendment #1                                           11/17/2015
WestRock CP, LLC                       Williams Industrial Services Group, L.L.C.    Second Amendment to ROCKTENN Master Equipment/Parts/Service Agreement                                   MSA Amendment #2                                           11/27/2018
WestRock CP, LLC                       Williams Industrial Services Group, L.L.C.    Assignment of and Third Amendment to ROCKTENN Master Equipment/Parts/Service Agreement                  MSA Amendment #3                                            5/13/2021
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23282467                                                                               Storm Water Inspection 2023                                 3/28/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 16888558 - CO-2                                                                        SCAFF #2 PM OPERATOR FLR BEAM INSPECTION                    4/20/2021
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23556707                                                                               PAINT CLOCK HOUSE JULY VIP TOUR                             6/13/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23554877                                                                               PAINT #3 PM SOUTH STAIRWELL VIP TOUR                        6/13/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23269887                                                                                CLEAN DEAERATOR BUILDING ROOF                              3/24/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23461645                                                                                REPAIR ROLL HANDLING ROOF                                  5/11/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 17665443                                                                               INSUL #5 PPT EAST DRAG CHAIN CONVEYOR                        7/2/2021
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 18590651                                                                               INSUL #5 RB 75% BLACK LIQUOR PURGE LINE                     9/28/2021
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 18724839                                                                               INSUL #8 PB 5TH FLOOR ASH LINE                              10/8/2021
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 18785936 - CO-1                                                                        SCAFF CHIP SILO BINDICATOR                                  10/6/2021
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 19021283                                                                               INSUL #8 BOILER STEAM TRAP 1/2" LINE                       10/17/2021
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 19823602                                                                               PULP MILL WINTERIZATION                                     12/7/2021
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 20351807                                                                               SCAFF C-SET EVAPORATOR OUTAGE                                7/8/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 20106532                                                                               INSUL #XXX-XX-XXXX FUEL OIL PUMP                             1/5/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 21088043                                                                               INSUL #5 PPT WEST DRAG CHAIN                                8/10/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 21187465                                                                               SCAFF PAPER MILL TANK FARM VENT LINES                       5/19/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 21756642                                                                               ADDT'L SCAFF RENT #2 PM FLOOR BEAM 5/1/22 - 9/30/22          8/4/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 21475132                                                                               INSUL #10 PB DUST HOPPERS                                   6/30/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22176588                                                                               SCAFF #10 PB ASH LN WAREBACK IN BASEMENT                    10/3/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22173619 - CO-1                                                                        SCAFF OLD DRY MACH BLDG PERSONNEL CANOPY                    10/3/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 21059150                                                                               MODIFY #1 PM WEST SIDE STRUCTURAL STEEL                     4/25/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22274981                                                                               PERSONNEL PROTECTION #3 PM STEAM JOINTS                    10/14/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22290711                                                                               INSUL #10 PB DUST COLLECTOR HOPPER                         10/17/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22564241                                                                               SCAFF #58 WHITE LQR PUMP CROSS BRACING                     11/15/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22762187                                                                               CLEAN PULP MILL AREA NOVEMBER 2022                         12/20/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22791200                                                                               HARDWOOD STACKER REBUILD                                   12/27/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22799277                                                                               SCAFF #2 PM MEZZ CONDENSATE LINE LEAK                      12/28/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22934991                                                                               INST WALKBRDS WWTP COOLING TWR CENTER FAN                   1/23/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22290692                                                                               SCAFF N WALL DEAERATOR BLDG E OF CATWALK                   10/17/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22990894                                                                               INSUL PAPER MILL PIPE MEASUREMENTS                           2/1/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23023604                                                                               INSUL #5 RB SOUTH SIDE WASHUP LINE                           2/7/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23029102                                                                               INSUL DEAERATOR BLDG 400# STEAM PRV VALVE                    2/8/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22177429                                                                               CLEAN TURBINE COOLING TWR N & E SIDES                       10/3/2022
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23145992                                                                               DEMO NORTH WALL DEAERATOR BLDG                              2/27/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23488949                                                                               INSUL DOMESTIC WTR LN NEAR BOIL OUT TANK                    5/22/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23490108                                                                               INSUL MILL LAB DOMESTIC WATER LINE                          5/22/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23167378                                                                               SCAFF PULP MILL #600 FLOW METER                              3/2/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23472974                                                                               INSUL #4 RB BLACK LIQUOR LINE LEAK                          5/16/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23218686                                                                               SCAFF EFFLUENT LINE REPAIRS                                 3/13/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23217814                                                                               SCAFF PAPER MILL E&I 2023 ANNUAL OUTAGE                     3/13/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23254421                                                                               SCAFF #06 CHIP CONVEYOR OHM METER                           3/22/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23372864                                                                               INSTALL TEMP CATWALK TC WATER FLOW METER                    4/17/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23373550                                                                               SCAFF #3 CHIP SILO BINDICATOR - 12 MONTHS                   4/17/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23408201                                                                               SCAFF #2 PM RELIEF VALVE IN COURTYARD                       4/25/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23454400                                                                               SCAFF #2 PM DRIVE SIDE FLOOR BEAMS 2023 AO                  5/10/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23228450                                                                               INSUL E-LINE 6TH EFFECT STRAIGHT SHELL                      3/15/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23442795                                                                               SCAFF WEST SIDE #1 SSR UNIT RIGGING                          5/5/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23469716                                                                               SCAFF #5 RB STARTUP VENT LINE A-14 VALVE                    5/15/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23452638                                                                               SCAFF NEW SHAKER BLDG LIGHT REPAIR                           5/9/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23517341                                                                               SCAFF BATCH DIGESTER MEZZ STEAM LEAK                        5/31/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23524430                                                                               SCAFF PULP MILL TANK FARM BLACK LQR LEAK                     6/2/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23517924                                                                               SCAFF #4 RB BLACK LQR LN PIPE HANGERS                       5/31/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23528468                                                                               INSUL #4 RB 150# STEAM HEADER CHECK VALVES                   6/5/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23513395                                                                               SCAFF NW CORNER EVAP BLDG B-SET BOILOUT LN                  5/30/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23512378                                                                               CLEAN OFF TOP OF MUD WASHER TANK                            5/30/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23528599                                                                               SCAFF #5 RB #110 & #111 PUMP SAMPLE LINES                    6/5/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23497850                                                                               SCAFF SECONDARY FIBER LIGHT REPAIRS                         5/24/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23540706                                                                               SCAFF TALL OIL PLANT WET OIL TANK HEATER                     6/8/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23529530                                                                               INSUL #1 PM DRYER CAN STEAM LINES                            6/5/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23528482                                                                               SCAFF #1 PM #14 MOTOR COOLING DUCTWORK                       6/5/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23534174                                                                               INSUL #1 PM DRYER CAN STEAM HEADER                           6/6/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23558876                                                                               INSUL #5 PPT EYEWASH SUPPLY LINE                            6/14/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23577587                                                                               SCAFF SEC FIBER SEAL WATER LINE LEAK                        6/20/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23569728                                                                               SCAFF TALL OIL PLANT 4" WATER LINE                          6/16/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23567327                                                                               SCAFF #2 PM STRETCH CHAINS COLUMN LN M-16                   6/16/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23563327                                                                               INSUL BLEACH PLANT 50% CAUSTIC TRANSFER LN                  6/15/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23572892                                                                               SCAFF WEST SIDE TILE CHEST WEST OF MAIN LAB                 6/19/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23572921                                                                               SCAFF #2 PM BASEMENT DRIVE SD #565 VALVE                    6/19/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23612568                                                                               SCAFF #2 PM PRESS PIT CONSISTENCY VALVE                     6/29/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23582687                                                                               CLEAN UP FELT BOXES #1 & #2 PM JUNE OUTAGES                 6/21/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23615937                                                                               SCAFF #3 PM PRESS PIT RECERT LINE                           6/29/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23584929                                                                               SCAFF #2 LIME KILN PRECOAT CAMERA                           6/21/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23536038                                                                               INSUL #3 PM MOTOR COOLING DUCTWORK                           6/7/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23567328                                                                               INSUL #2 PM DESUPERHEATER VALVE                             6/16/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23642349                                                                               SCAFF BLACK LQR FILTER BLDG PRIMARY BASKET                   7/7/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23660622                                                                               INSUL LVHC CONDENSATE POT INLET VALVE                       7/12/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23633901                                                                               LN 1- LABR SCAF WWTP #1 PRIMARY CLARFR SUMP BYPASS VLV       7/5/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 22977177                                                                               REPL CHARCOAL SEC FIBER RACK RM WV UNIT                     1/30/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23612595                                                                               SCAFF SEC FIBER FINAL PHASE LIGHT REPAIRS                   6/29/2023
WestRock CP, LLC                       Williams Specialty Services, LLC              Purchase Order # 23658329                                                                               SCAFF SOUTH CHIP PILE RECLAIM RACK CABLE                    7/12/2023
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                                                                                                                                                                                                                                                                                                                      Contract/ PO
               Non-debtor Counterparty                             Debtor                                                                                          Contract                                                                                                  Description
                                                                                                                                                                                                                                                                                                                          Date
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23642349                                                                                                                  LN 2- INSUL E-LINE PIPE FLANGE EAST END MEZZ                                            7/7/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23658375                                                                                                                  SCAFF SHAKER SCREEN CLEANOUT DOORS                                                     7/12/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23660627                                                                                                                  SCAFF #4 RB BLACK LQR LINE SPOOL SECTIONS                                              7/12/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23660671                                                                                                                  INSUL #5 RB 150# STEAM LINE REPAIR                                                     7/12/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23657742                                                                                                                  SCAFF #1 PM ROLL HANDLER REPAIR                                                        7/12/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23657829                                                                                                                  SCAFF E-LINE MEZZ REX A #130 PROBE                                                     7/12/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23696802                                                                                                                  SCAFF #1 PM SPRINKLER SYSTEM AFTER FIRE                                                7/20/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23658333                                                                                                                  SCAFF BLEACH PLANT SW STAIRWELL SUPPORT                                                7/12/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23663944                                                                                                                  SCAFF KAMYR DIGESTER SUBST CONDENSATE LN                                               7/13/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23665636                                                                                                                  SCAFF #2 LIME KILN DIVERTER GATE CHUTE                                                 7/13/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23665045                                                                                                                  SCAFF #25 CONVEYOR CHUTE REPAIR                                                        7/13/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23665643                                                                                                                  SCAFF DOMESTIC WTR LN TOP OF DORR TANKS                                                7/13/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23670537                                                                                                                  SCAFF #4 RB BLACK LQR LN LK MEZZ N WALL                                                7/14/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23670542                                                                                                                  SCAFF #10 PB #26 & #27 BARK CONVEYOR CHUTE                                             7/14/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23678831                                                                                                                  SCAFF #3 PM JULY 18TH OUTAGE                                                           7/17/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23695151                                                                                                                  SCAFF #1 LIME KILN RECLAIM WATER PUMP                                                  7/20/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23696790                                                                                                                  SCAFF MAIN STARCH COOK TANK PLATFORM                                                   7/20/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23696863                                                                                                                  INSUL #3 PM AQUATROL HEATER VALVE                                                      7/20/2023
WestRock CP, LLC                         Williams Specialty Services, LLC              Purchase Order # 23696800                                                                                                                  SCAFF #3 PM UNORUN CONDUIT LIGHT REPAIR                                                7/20/2023
WRS Environmental Services               Williams Specialty Services, LLC              Lump Sum Subcontract 07920021SC02                                                                                                          Asbestos Services                                                                      7/13/2021
Zoho                                     Williams Industrial Services Group, L.L.C.    PO#88019-285                                                                                                                               IT management Tools                                                                    7/15/2022
Zoom                                     Williams Industrial Services Group, L.L.C.    Zoom Amendment Form Number: Q1844858                                                                                                       Phone System                                                                          12/12/2022
Lockstep Technology Group                Williams Industrial Services Group, L.L.C.    Lockstep Managed Services Agreement                                                                                                        Managed Services Provider                                                              9/22/2021
Cigna HealthCare                         Williams Industrial Services Group Inc.       Cigna HealthCare Group Services Agreement for Williams Industrial Services Group, Inc., Account Number 0630873, current in effect.         Financial proposal for certain Cigna plans                                              1/1/2023
EnergySolutions                          Williams Specialty Services, LLC              Professional Services Agreement                                                                                                            Memphis Support of Williams Specialty Services, LLC Container Handling Activities      2/23/2011
